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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CHARLES M. TORRENCE,

               Petitioner,

               v.                                                   CASE NO. 20-3310-SAC

TIM EASLEY, Warden, Larned
Correctional Mental Health Facility,

               Respondent.

                                 ORDER TO SHOW CAUSE

       This matter is a pro se Petition for habeas corpus filed pursuant to 28 U.S.C. § 2254. The

Court grants Petitioner’s motion for leave to proceed in forma pauperis (Doc. 2). The Court has

conducted an initial screening of the Petition under Rule 4 of the Rules Governing Section 2254

Cases in the United States District Courts and finds:

               1. Petitioner is presently a prisoner in the custody of the State of
               Kansas;

               2. Petitioner demands his release from such custody, and as
               grounds therefore alleges that he is being deprived of his liberty in
               violation of his rights under the Constitution of the United States,
               and he claims that he has exhausted all remedies afforded by the
               courts of the State of Kansas; and

               3. A response is required.

       IT IS THEREFORE ORDERED:

       1. That Respondent shall show cause within thirty (30) days from the date of this Order

why the writ should not be granted.

       2. That the response should present:

               (a) The necessity for an evidentiary hearing on each of the
               grounds alleged in Petitioner’s pleading; and




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               (b) An analysis of each of said grounds and any cases and
               supporting documents relied upon by Respondent in opposition to
               the same.

       3. Respondent shall cause to be forwarded to this Court for examination and review the

following:

               the records and transcripts, if available, of the criminal and/or post-
               conviction proceedings complained of by Petitioner; if a direct
               appeal of the judgment and sentence of the trial court was taken by
               Petitioner, Respondent shall furnish the records, or copies thereof,
               of the appeal proceedings.

       Upon the termination of the proceedings herein, the Clerk of this Court will return to the

clerk of the proper state court all such state court records and transcripts.

       4. That Petitioner is granted thirty (30) days after receipt by him of a copy of

Respondent’s answer and return to file a traverse thereto, admitting or denying, under oath, all

factual allegations therein contained.

       5. That the Clerk of the Court shall transmit copies of this Order to Petitioner and to the

office of the Attorney General for the State of Kansas.

       IT IS FURTHER ORDERED that the Court grants Petitioner’s motion for leave to

proceed in forma pauperis (Doc. 2).

       IT IS SO ORDERED.

       Dated December 31, 2020, in Topeka, Kansas.

                                               S/ Sam A. Crow
                                               SAM A. CROW
                                               SENIOR U. S. DISTRICT JUDGE




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